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James Michael Amor, et. al,


       Vs.
                                                         Civil Action No: 5:21-cv-05574-JMG
Courtney Conover




                        Statement Accompanying Testimonial Evidence



       I have provided the testimony of both Kayla Miller and Samantha Snow. Samantha
Snow is a previous victim of David Eugene “Quinn” Harlin while she was still underage. Kayla
was sexually harassed and felt regularly threatened. She was also retaliated against in regards to
employment with the Pittsburgh Renaissance Festival, and had her good name smeared by both
James and Patricia Amor.

       My original source for my statement regarding Kayla in my blog came from Brianna
Kube. At the time, she told me exactly what was written on my blog regarding Kayla, stating
she was in the room and saw it herself. Since then, Brianna has backtracked regarding that
incident in particular and a few other things. Regardless, Kayla upholds the legal standard of
the blog post, substantial truth. I would clearly edit the blog to reflect only the actual truth
according to Kayla going forward. I do not, and never did want, to post anything that was even
remotely untrue. I still don’t. I believe the testimony of all of these witnesses, and I will stand
by them in a court of law as they are all willing to testify if necessary.

       I would like to inform the court that at this time Kayla Miller has obtained representation
to sue James Amor and the owners of the Pittsburgh Renaissance Festival for illegal Independent
Contractor contracts. She states that in Pennsylvania, the law states that only employees can
have their work attire dictated to them by those hiring them. They also are to be paid for all
hours and have no direct instruction or supervision (non-directed). The contract provided by Ms.
Miller regarding the Pittsburgh Renaissance Festival and their practices clearly violate these

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three things, making them employees and not contractors, and therefore, able to sue for unlawful
termination. There are many others who could make this into a Class Action suit in the near
future.

          As for Samantha Snow, it is clear in the message sent to Ms. Snow by Dr. Amor that he
was treating her as not only an adult when she was not, but also as someone at fault for the
grooming and abuse she was suffering at the hands of David Eugene “Quinn” Harlin. At the
tender age of 17, she was still to be expected to wander off at times, and not be as disciplined as
an adult might be. Those are legitimate reasons to scold a cast member. However, it was his
responsibility to recognize a relationship between a 44 year old man and a 17 year old girl was
not legitimate and should be reported. It should also have been discussed with Samantha as the
victim of the circumstances, instead of treating her as though she was the problem. Mr. Harlin
received no threat to not be hired, but Samantha did. This is evidence, in both mine and
Samantha’s opinion, that she was being blamed for her own assault by Dr. Amor.

          As for Ms. Miller’s accusation that Dr. Amor has a duty tor report due to his position as a
Dentist in the state of Pennsylvania, this is correct according to
http://www.pacodeandbulletin.gov/Display/pacode?file=/secure/pacode/data/049/chapter33/subc
hapAtoc.html&d=reduce.

          Due to some stipulations specifically stating the violation had to be during a medical
evaluation, others very clearly did not. Although he was not serving in his capacity as a Dental
Professional at the Festival, he was still bound by these laws. I am in agreement with Ms. Miller
that Dr. Amor should have been reported to the Dental Board for these violations of conduct
before, as he clearly knew these abuses were going on, and blamed the wrong party. The victim.




Courtney Conover                                                              June 7, 2022




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